     Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 1 of 28


 1   XAVIER BECERRA, State Bar No. 118517
     Attorney General of California
 2   PETER D. HALLORAN, State Bar No. 184025
     Supervising Deputy Attorney General
 3   CORI R. SARNO, State Bar No. 230559
     Deputy Attorney General
 4   DAVID S. KIM, State Bar No. 324531
     Deputy Attorney General
 5     1300 I Street, Suite 125
       P.O. Box 944255
 6     Sacramento, CA 94244-2550
       Telephone: (916) 210-6182
 7     Fax: (916) 324-5567
       E-mail: Cori.Sarno@doj.ca.gov
 8   Attorneys for Defendant
     California Department of Social Services
 9   (erroneously sued as the State of California and the
     Health and Human Services Agency)
10

11                           IN THE UNITED STATES DISTRICT COURT
12                         FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15   CLARICE SANDERS-HOLLIS,                               Case No. 2:19-cv-00092-KJM-DB
16                                     Plaintiff, REQUEST FOR JUDICIAL NOTICE IN
                                                  SUPPORT OF CALIFORNIA
17               v.                               DEPARTMENT OF SOCIAL SERVICES’
                                                  MOTION TO DISMISS PURSUANT TO
18                                                FEDERAL RULE OF CIVIL
     STATE OF CALIFORNIA, HEALTH AND PROCEDURE RULE (12)(b)(6)
19   HUMAN SERVICES AGENCY,
     DEPARTMENT OF SOCIAL SERVICES;               Date:          November 22, 2019
20   and DOES 1 through 20, inclusive,            Time:          10:00 a.m.
                                                  Dept:          3, 15th Floor
21                                  Defendants. Judge:           The Honorable Kimberly J.
                                                                 Mueller
22                                                Trial Date:    None Set
                                                  Action Filed: 8/20/2018
23

24         Defendant Department of Social Services (“DSS”) requests that the Court take judicial

25   notice of the attached documents pursuant to Federal Rule of Evidence 201 in considering the

26   Motion to Dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6).

27         As a general rule, “a district court may not consider any material beyond the pleadings in

28   ruling on a Rule 12(b)(6) motion.” Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001)
                                                     1
                                 Request for Judicial Notice in Support of California Department of Social Services’
                                                              Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
     Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 2 of 28


 1   (quoting Branch v. Tunnell, 14 F.3d 449, 453 (9th Cir. 1994) (overruled on other grounds)).

 2   A court, however, may take judicial notice of matters of public record without converting the

 3   motion into a summary judgment motion if the documents’ authenticity is not contested and the

 4   plaintiff’s complaint necessarily relies on them, or if the documents to be noticed are matters of

 5   public record. Id. at 688-89. The Court may also take judicial notice of records and reports of

 6   administrative bodies. Mack v. S. Bay Beer Distrib., Inc., 798 F.2d 1279, 1282 (9th Cir. 1986)

 7   (abrogated on other grounds). The records of the Department of Fair Employment and Housing

 8   (“DFEH”), following the conclusion of an investigation, are public. See Ayala v. Frito Lay, Inc.,

 9   263 F. Supp. 3d 891, 901-02 (2017) (charges filed with DFEH and EEOC are matters of public

10   record that may be judicially noticed); see also DFEH Guidelines for Requesting Public Records,

11   https://www.dfeh.ca.gov/news-and-public-records (last visited Oct. 14, 2019).

12         Defendant DSS requests that the Court take judicial notice of the following DFEH records

13   in considering its motion to dismiss:

14               (1) Acknowledgement of Inquiry Filing, dated April 3, 2016, attached hereto as

15               Exhibit A;

16               (2) Notice of Pre-Complaint Inquiry Closure, dated July 19, 2016, attached hereto as

17               Exhibit B;

18               (3) Plaintiff’s DFEH Complaint, No. 201808-03290420, dated August 20, 2018,

19               attached hereto as Exhibit C;

20               (4) Plaintiff’s Notice of Case Closure and Right to Sue, dated August 20, 2018,

21               attached hereto as Exhibit D;

22               (5) Plaintiff’s DFEH Complaint, No. 555-2016-01065, dated July 25, 2016, attached

23               hereto as Exhibit E; and

24               (6) Notice to Complainant of Right to Sue, dated August 15, 2016, attached hereto as

25               Exhibit F.

26         All of the aforementioned DFEH/EEOC records are available to the public and may

27   therefore be judicially noticed.

28   ///
                                                          2
                                  Request for Judicial Notice in Support of California Department of Social Services’
                                                               Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
     Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 3 of 28


 1         Additionally, Defendant DSS requests that the Court take judicial notice of:

 2                (7) Plaintiff’s Employee Separation Notice, dated January 8, 2018, attached hereto as

 3                Exhibit G.

 4         Plaintiff’s Employee Separation Notice is a record maintained by Defendant DSS, an

 5   administrative body, and is therefore subject to judicial notice.

 6   Dated: October 21, 2019                                      Respectfully submitted,
 7                                                                XAVIER BECERRA
                                                                  Attorney General of California
 8                                                                PETER D. HALLORAN
                                                                  Supervising Deputy Attorney General
 9

10
                                                                  /s/ Cori R. Sarno
11

12                                                                CORI R. SARNO
                                                                  Deputy Attorney General
13                                                                Attorneys for Defendant
                                                                  California Department of Social Services
14                                                                (erroneously sued as the State of California
                                                                  and the Health and Human Services Agency)
15   SA2019100060
     Request for Judicial Notice iso Motion to Dismiss.docx
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                                                              3
                                     Request for Judicial Notice in Support of California Department of Social Services’
                                                                  Motion to Dismiss (Case No. 2:19-cv-00092-KJM-DB)
Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 4 of 28




                    EXHIBIT A
    Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 5 of 28



       DEPARTMENT OF               f AIR EMPLOYMENT & HOUSING                      0 RECTOR KEVIN KISH
       2218 Kauoon Drive, Suite 100 I Ek Grove I CA l 95758
       800-884'1.684 I Videophone 916-226-5285 I TDD 000-700-2320
       www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




April 03, 2016

Clarice SandersHollis




RE: ACKNOWLEDGEMENT OF INQUIRY FILING
     DFEH Inquiry Number: 756850-220231

Your inquiry has been received. Thank you for filing an inquiry with the Department of Fair
Employment and Housing. A Department representative will contact you within the next
60 business days to discuss your inquiry.

Complainant's telephone number:
Complainant's email address
Subtype: Employment
Basis: Age - 40. and over
Harm: Discrimination Denied a work environment free of discrimination and/or retaliation
Last date of harm: March 171 2016
Additional Facts: On 3/17/16,was having 1 on 1 with manager, and she stated to me that
she knows she is younger than myself and I probably have kids her age, I told her I do but
I asked her what does that have to do with work or anything, she didn't answer, so I
proceeded to tell her that I do not have a problem with her being younger or . I informed
her that I was bothered by a comment I overheard her friend who is also a manager say to
her. I proceeded to tell her that on February 4, 2016, I overheard Mira Brooks use the N
word while having a conversation with her. Sarah then said she is married to a Black man,
I said and what does that have to do with anything, I know 100% I heard her use the N
word while engaged in a conversation with her. I told her Mira was sitting in her cubicle
texting on her phone and maybe after 10 to 15 minutes later she walked in Sarah cubicle
and said the following: girl that N and then her voice got lower and I couldn't hear the rest
then they both started laughing. Sarah then says to me that she wouldn't allow her to use
that word with her and that she don't know my struggles and she hasn't walked in my
shoes and her husband Is Black and she is trying to learn his culture. I again said to her
that what does that have to do with Mira using a derogatory word. She kept denying what I
heard and I told her that is your friend but I will bet my whole paycheck that Mira used the
N word while engaged in a conversation with her. I even told her to think back about a
month or so ago and think about a conversation that Mira had with her where maybe she
was upset with someone, her spouse or whomever. It has been bothering me ever since
and I even told Sarah that I spoke to my doctor about the issue. I had informed the bureau
chief about the issue on March 71 2016 but by March 10, 2016 he was no longer with the
department, not really sure for what reasons. On March 22, 2016, Sarah was having her 1
on 1 with the Branch Chief Nicole Carr, as I walked to the printer, I noticed Nicole was on
her phone, it was around 3ish in the afternoon, I remembered thinking why would Nicole
be on her phone while having a 1 on 1 with Sara, after her 1 on 1, Nicole Carr (branch
    Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 6 of 28


chief)came to my cubicle and asked me if she could speak with me. Once in her office, I
said Sarah must have told you about what happened and she said no, and she is
apologizing to me about how busy she has been and hadn't forgotten about me, I said oh
that's okay, I cancelled my request to meet with you anyway, she said I know but Erlene
keeps me on my toes, she reminds me and I said really, I cancelled the meeting so why
would she do that. I said well, I'm going to tell you everything, so I proceed to tell Nicole
that I feel Sarah discriminated against me with the age issue, and I tell her about how I
overheard Mira using the N word, I also tell her that on January 12, 2016, Sarah tells
myself and another co-worker about how she wants to punch another coworker in the face,
I tell her of another incident that happened the at the beginning of March where Sarah was
singing the batman theme song but she was singing it with an inappropriate word. I
proceeded to tell Nicole, I guess now the retaliation is going to start against me and that's
why it took me a while to come forward because I'm afraid of the retaliation but these
issues have really been getting to me. Nicole informed me that she will be discussing the
issues that I informed her of with some people. She then told me there will be no
retaliation and said it took strength on my part to come forward with the issues we
discussed. I also informed Nicole that another co-worker knows of things that has happen
with Sarah and Nicole said that she would be dealing with my issues and if that employee
wanted to discuss with her then she could. Shortly, after I left Nicole office, Sarah and
Mira went to one of the small conference rooms. I sent Nicole an email informing her of
that and told her I guess they went to have a discussion. Since this has happened Sarah
his started just nic-picking with me an


Department of Fair Employment and Housing
Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 7 of 28




                    EXHIBITB
      Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 8 of 28

        STATE OF CAI IFOBNIA f 81 isfness Cans, ,mer Sentices and Hai islng Agency               GQVEBNQR EDMI IND G BBQWN ,IR

        DEPARTMENT OF FAIR EMPLOYMENT                                                & HOUSING              DIRECTOR KEVIN KISH
        2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
        800-884-1684 I TDD 800-700-2320
        www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




July 19, 2016

Clarice SandersHollis                                                 Via email:




RE:    Notice of Pre-Complaint Inquiry Closure
       DFEH Number: 756850-220231
       SandersHollis / Smith Department Of Social Services - Human Resources

Dear Clarice SandersHollis:

The Department of Fair Employment and Housing (DFEH) has closed your pre-
complaint inquiry for the following reason(s):

      We attempted to contact you via telephone and/or electronic mail on June 16, 2016
      and July 19, 2016 and were unsuccessful. If you wish to pursue, you must be
      available for an interview by July 19, 2016. Otherwise this inquiry will be closed.
      To schedule your interview, please contact me at the number listed below. Should
      you wish to proceed with the interview after this date, you will be placed back into
      the intake interview rotation process, which has a current wait time of
      approximately 60 days.

Be advised a complaint must be filed within one (1) year of the last act of discrimination.

If you have any questions, please contact me within ten (10) days from the date of this
letter. If your case is closed and you would like to appeal that decision, you may submit
a written request to DFEH, Regional Administrator Selena Wong, 2218 Kausen Drive,
Suite 100, Elk Grove, CA or call 510-789-1027.

Sincerely,




Marshalena Adkins
Consultant I
510.789.1049
marshalena.adkins@dfeh.ca.gov
Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 9 of 28




                    EXHIBIT C
         Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 10 of 28



 1                     COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                   DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                     Under the California Fair Employment and Housing Act
 3
                                  (Gov. Code,§ 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Clarice Sanders-Hollis                                      DFEH No. 201808-03290420

 6                                 Complainant,
 7 vs.

 8   State of California, Health and Human Services
     Agency, Department of Social Services
 9   744 P Street
     Sacramento, California 95814
10

11                         Respondents

12
     1. Respondent State of California, Health and Human Services Agency,
13   Department of Social Services is an employer subject to suit under the California
     Fair Employment and Housing Act (FEHA) (Gov. Code,§ 12900 et seq.).
14
15 2. Complainant Clarice Sanders-Hollis, resides in the City of State o f -

16   3. Complainant alleges that on or about August 20, 2018, respondent took the
     following adverse actions:
17

18 Complainant was harassed because of complainant's race, ancestry, national
   origin (includes language restrictions), color, family care or medical leave (cfra)
19 (employers of 50 or more people), genetic information or characteristic, disability
   (physical or mental), medical condition (cancer or genetic characteristic), age (40
20 and over), association with someone of a protected class.
21
   Complainant was discriminated against because of complainant's race, ancestry,
22 national origin (includes language restrictions), color, family care or medical leave
   (cfra) (employers of 50 or more people), genetic information or characteristic,
23 disability (physical or mental), medical condition (cancer or genetic characteristic),
   age (40 and over), association with someone of a protected class and as a result of
24 the discrimination was denied hire or promotion, reprimanded, denied equal pay,
   suspended, denied or forced transfer, demoted, asked impermissible non-job-related
25
   questions, denied a work environment free of discrimination and/or retaliation,
26
27                                                 -1-
                                   Complaint - DFEH No. 201808-03290420
28   Date Filed: August 20, 2018
           Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 11 of 28



 1 denied any employment benefit or privilege, denied reasonable accommodation for a
   disability, denied family care or medical leave (cfra) (employers of 50 or more
 2 people), other, denied work opportunities or assignments.
 3
       Complainant experienced retaliation because complainant reported or resisted
 4     any form of discrimination or harassment, participated as a witness in a
       discrimination or harassment claim, requested or used california family rights act or
 5     fmla, requested or used a disability-related accommodation and as a result was
       denied hire or promotion, reprimanded, denied equal pay, suspended, denied or
 6     forced transfer, demoted, asked impermissible non-job-related questions, denied a
 7     work environment free of discrimination and/or retaliation, denied any employment
       benefit or privilege, failed to give equal considerations in making employment
 8     decisions, denied reasonable accommodation for a disability, denied family care or
       medical leave (cfra) (employers of 50 or more people), partial recommendation for
 9     subsequent employment in retaliation for filing discrimination or harassment
       complaints.
10

11
       Additional Complaint Details: Respondent subjected Claimant to a hostile work
12     environment on the aforementioned bases including slurs, offensive language,
       exclusion, and insults. Respondents failed to engage in good faith and provide a
13     reasonable accommodation for Claimant's disabilities. On the aforementioned
       bases, in retaliation for Claimant's request/exercise of reasonable accommodation,
14
       and in retaliation for Claimant's filing of discrimination/harassment/retaliation
15     charges, and opposition to discrimination/harassment/retaliation, Respondent
       subjected Claimant to failure to hire/promote, false/pretexutal warnings/write
16     ups/discipline, negative employment actions, inferior terms and conditions of
       employment, instruction not to work, failure to follow policies, failure to timely
17     investigate, and an unsafe work environment.
18

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27                                                    -2-
                                     Complaint - DFEH No. 201808-03290420
28     Date Filed: August 20, 2018
         Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 12 of 28



 1 VERIFICATION

 2   I, Michael J. Freiman, Esq., am the Attorney in the above-entitled complaint. I have
     read the foregoing complaint and know the contents thereof. The matters alleged are
 3
     based on information and belief, which I believe to be true.
 4
     On August 20, 2018, I declare under penalty of perjury under the laws of the State of
 5   California that the foregoing is true and correct.

 6                                                                       Los Angeles, CA
 7

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                                   Complaint- DFEH No. 201808-03290420
28
     Date Filed: August 20, 2018
      Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 13 of 28

         STATE OF CALIFORNIA I Business Consumer Se!Ylces and Housing Aaencv               GOVERNOR EDMUND G BROWN JR
                                                                                                    D RECTOR KEVIN KISH
         DEPARTMENT OF FAIR EMPLOYMENT                                         & HOUSING
         2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
         (BOO) 884-1684 I TDD (800) 700-2320
         http://www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




August20,2018

Michael Freiman
100 Wilshire Blvd. Ste 700
Santa Monica, California 90401

RE:     Notice to Complainant's Attorney
        DFEH Matter Number: 201808-03290420
        Right to Sue: Sanders-Hollis/ State of California, Health and Human Services
        Agency, Department of Social Services

Dear Michael Freiman:

Attached is a copy of your complaint of discrimination filed with the Department of Fair
Employment and Housing (DFEH) pursuant to the California Fair Employment and
Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
Notice of Case Closure and Right to Sue.

Pursuant to Government Code section 12962, DFEH will not serve these
documents on the employer. You must serve the complaint separately, to all named
respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
information regarding filing a private lawsuit in the State of California. A courtesy "Notice
of Filing of Discrimination Complaint" is attached for your convenience.

Be advised that the DFEH does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements.

Sincerely,


Department of Fair Employment and Housing
Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 14 of 28




                     EXHIBITD
       Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 15 of 28

          STATE OF CALIFORNIA I Business Consumer Servlces and Housing Aaencv               GOVERNOR EDMUND G BROWN JR
                                                                                                     D RECTOR KEVIN KISH
          DEPARTMENT OF FAIR EMPLOYMENT                                         & HOUSING
          2218 Kausen Drive, Suite 100 I Elk Grove I CA I 95758
          (800) 884-1684 I TDD (800) 700-2320
          http://www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov




 August20,2018

 Clarice Sanders-Hollis
 c/o Law Office of Michael Freiman, 100 Wilshire Blvd. Ste 700
 , California 90401

 RE:     Notice of Case Closure and Right to Sue
         DFEH Matter Number: 201808-03290420
         Right to Sue: Sanders-Hollis/ State of California, Health and Human Services
         Agency, Department of Social Services

 Dear Clarice Sanders-Hollis,

 This letter informs you that the above-referenced complaint was filed with the
 Department of Fair Employment and Housing (DFEH) has been closed effective August
 20, 2018 because an immediate Right to Sue notice was requested. DFEH will take no
 further action on the complaint.

 This letter is also your Right to Sue notice. According to Government Code section
 12965, subdivision (b), a civil action may be brought under the provisions of the Fair
 Employment and Housing Act against the person; employer, labor organization or
 employment agency named in the above-referenced complaint. The civil action must be
 filed within one year from the date of this letter.

 To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
 Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
 DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
 whichever is earlier.

 Sincerely,


. Department of Fair Employment and Housing
Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 16 of 28




                     EXHIBITE
                        Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 17 of 28
  EEOC Form 6 (11/09)

                        CHARGE OF DISCRIMINATION                                                        Charge Presented To:                    Agency(ies) ·Charge No(s):
              This form 11;1 effected by the Privacy Act of 1974. See enclosed Privacy Act                     FEPA
                     Stalement and other Information befOre completing this form.
                                                                                                               EEOC
                                             Csilifornia Departmemt Of Fair Employment & Housing

 Name (Indicate Mr., Ms., Mrs.)

 Ms. Clarice Sandiar$"Homs
 Street Addmes                                                                      City, State and ZIP Code

 8244 Visalia           Way, S1u:.:rame11to1 CA 95828

 Named is the Employer, Labor Organization, Employment Agency, Apprant!oeship Committee, or State or Local Government Agency That-I Believe
 Discriminated Against Me or Others. (ff more then two, list under PARTICULARS below.)                                         ·
 Name
 CA DEPT Of SOCIAL SERVICES/HUMAN SERVICES
 Street Address                                                                     City, Stste and ZIP Code

 744 P Street, Sacramento, CA 95814 ·

 Name                                                                                                              No. Employeaa, Membflll!       Ph



 Street Address                                                                     City, State and ZIP Code




 DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                     Earliest                  · Latest ·
           RACE         D      COLOR                  SEX         D       RELIGION       D       NATIONAL ORIGIN

        I]] RETALIATION                      AGE       D       DISABILITY          D         GENETIC INFORMATION
                              ER (Specify)                                                                                          D           CONTlt,lUJNG ACTION

 THE PARTICULARS ARE (If eddilional paper Is needed. attach extra sheet(s)):


   SEE ATTACHED




      I want this charge filed with boll1 the EEOC and the state or local Agency, if any. I    TARY - When necessary for Slate and Local Age~cy Raqulromef!tS
      will advise the agencies If I change my address or phone number and I wlll
      cooperate fully with them In the processing of my charge In accordance with their
i,..;...pr_o..;..ce_d_ure_s_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-1 I swear or affirm that I have read the above charge and t~at it h:i'true to
       I declare under penalty of perjury that the above is true and correct.               the best of my knowledge, information and belief.
                                                                                                SIGNATURE OF COMPLAINANT


                                                                                                 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE ·
                                                                                                 (month, day, year)
           Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 18 of 28


Please use the "EEOC Charge No." listed at the top of this letter whenever you ca 11 us abou1: this charge. Pleas.e also
notify this office of any change in address or of any prolonged absence from home. Failure to cooperate in this matter.
may lead to dismissal of the charge.

Please also read the enclosed brochure, "What You Should Know Before You File A Charge With EEOC," for answers
to frequently asked questions about employee rights and the EEOC process. If you have any questions, please call
me at the number listed below. If you have to call long distance,.pleasa call collect.


                                                      Sincerely,

                                                      Deborah Randall
                                                      Enforcement Manager
                                                      (415) 522-3107


Office Hours: Monday- Friday, 8:30 a.m. - 5:00 p.m.
www.eeoc.gov

Enclosure(s)
   Copy of EEOC Form 5, Charge of Discrimination
   Copy of EEOC Uniform Brochure, "What You Should Know Before You File A Charge With EEOC."
                        Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 19 of 28
   ,,
 STATE OF CALIFORNIA
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 DEPARTMENT OF SOCIAL SERVICES                                                                       EEO Conelor.
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P828 (6/02)
                 Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 20 of 28
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      I                .                         .

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              believe                            Document 23-3
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   Can provide


                                                           Titlie/Relattonshlp


   Cim provide informaJlon regarding:.,......._ _ _ _ _ _ _ _ _ _ _ _ _ _ _.,..__ _ _ _ _ _........
                           '    ,,     '     .


                               (U:111 extm fllhffts of paper for ad~itlom.11 witnesses, If n~~•siuy.)
                                                                                          ,·




5. Are you intem1tEKf in-participating in the State Peraormel Board;, Miooiati«:m Program? Yes_           No. _ _

6, Have you flied a complaint with th~ U.S. Equ1i Employme t O portunify Commission (EEOC) tir DFEH before
          to
   coming .EEO? Yee                  i. Neil . .                         .       St .. .                   ·

1.. Have you discussed the problem with ~my of the followlng? (If YES, state resu1t1 below):

   (a) Your Supervisor: Yes_ No                         (b) CSEA: Yes_ No_
  . (c) Your Manager:          Yu "i, No                (d) EAP:     Ye1...... No_
   (e) State Police:            Yes_ No ......           (f) Other               ~i.e~   4 ~ k Ctue..~




                                                                                                                     3
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  On June 24, 201.6 approximately around 9:30am, Friday mom ing, I received an email
 from Sarah Smith, informing .me that claim ~etall was·missing from an·employee. I
  informed Sarah Smith, that I h~d no problem of Inputting the infonnation, and Informed
  her of this. T~ls claim was one of the new claims that I lnt,erited from the San Diego .
  area, (Sarah was handling the  case     management in _this area) u pbn my retµm from·
  bereavement. Then 1·verbaily spoke to Sarah, informing her that the clal,m ~etall was
       as
 there it oootmedjn 20"11 i ··I informed her per her prior direction, she Instructed when
  a ciaim Is reopen, ·to input open and the date         tha claim Is reopen. That
  information was there. I Informed her that she ~ad previously instructed us not to
  Include the decision ag~.ln, In a nasty, rud~ tone, San~h stated, wa discussed this
 before and I infqrmad her we discussed. If actalm was reopen, ~ci to key· the blaim as
  re.open but to key . . Qpen and. not ttflnclude t.h~ deolsjon part again a$lt'.was    Eilre~dy
 tl')e(~ and ff included $gain 1tw0Uld. b' as if the deblsion was made the   ~e       date tha
  cl~irn was reopen. Ther, S~rah emails me ~atti'.,fthe change took piacti 6/9/1 a·; th~ithe
.claim r~Qpened. I Informed her that I did input t~e change sho~lng the claim was open
  effective 6/9/16. I informed h~r that th~ claim being accepted hi 2011 was ·still. the · ·.
  decision and that part didn'.t cha.nge again. the ()riJy change was the ci~rr{went from
  b~lng closed to reopen.· Sarah was very rude, I h"lfotmed Sarah to Inform N1oole Carr
 that I would like $peak W~~· her. ~- bacam~ very upset because I dquidn't_t~ke her ·
 being rudtno, me a, Just the day p~ior to this Incident (June 23, 2016) Sarah wa$ rude to
 me when      I asked h·er for·dirSdion regarding a hearing as .Leslie is out of the office,
 therefore, I asked direction 'from Sarah and her response to    me     wasy~ry   rude. So on
  Friday when. she was being very rude .I got upset, my co~worker. S1Ma1 told me to ~aim
 down as I had begun to cry;· I k~pt t~lling SIivia, ~ut ~;s not fair, I'm tired o, her treating
 me unfair. I said I am. going to go and talk someone. I then went ~o Srlene·c1ceron
  (Nico·ie's secretary) and lnforme~ her to let Nicole Carr know th~t I would iike· to meet
 with her. 1.was about to leave.the office·, and go to,E~d. bl,Jt I thought let.me Inform a
  manager know. Therefore, I went to Maureen· Graber, the personnel officer, and .
 informed he_r cin what had happened, and I started crying again and Informed her, I can't
 keep workjng In this hostlla·work environment and tt•s very uraheatthy, and It has b~en
  like this since March 17, 2016. Maureen stated something to the effect that there Is no
 ~st iri the workers comp un!t, and that higher lav:ei management was ooricemed with
 the high numbers. In regards to the workers comp claims. .1 informed Maureen that
\ ~arah whispers all day to Michael Luna and Kristin Roan, I Informed her-· of how Sarah
  attitude Is with me and how she treats Kristin much different I also Informed her of how
  Sarah send~ these email expectations of the cell phone· usage and h~w she is on her
  cell phone and personal calls all day. Maureen stated Sarah should~'t be doing that
  since she sent her staff an email about the phone US$Q8 and·parsonal calls. Maureen
  asked ff Sarah informs staff uniformly, .I informed her that sometime, she does but there
  are' quite a few times she will verbally be talking to one of her staff regarding the
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   solution to an issue but she doesn't share with the rest of the staff, or sometimes she
   gives a staff direction on a project that she may have stafl'. working but she doesn'.t do It
   to all of us. There have be:an times when sh~ cliangetj a .Pr.oced ure and informe~ the
   staff ,person that      is talking tci and doesn't tell others. Mau raen lnfcmneq ma that she
· would sp,ak to Sarah arid that I may go to EEO. I left wenno EEO and talked with·
   Nan~y. I was allow~d to stay In one ~f the confer~n.qe rooms tQ cairn· myse.lf doV'lfn. I ..
   ret~rlied to th~ office later, and. Sarah was not there, ·Upo11 tier retum she sent an email
    au
   to .of her staff, informing us of her directkm regarding a procedure. Sarah also sent a
   prior eman    ~ich did have those lnstructio11s,. but aft~r that prior email, Sarah verbally
   ch~ng~ the procedure. I received a_o email later tt,at aft~moon Informing me that I
   wouid n,eet with Nloole from 4~5pn, .. i the11 ~aceiv~d anqther e~all, infor!lling me.that
  .Nkml.e would meet with !'.fl~ a~ 2pmJnsteacl. I m~t with Nicole told her ail myof
                                             am
   concerns,· 1neludlng the r~tallatlon thl:lt I     receiving since .com Ing forth her and
   going· to EEO. I Informed Nicole about all the unfair treatment, regarding how Kristh1
   Roan got.extenslve'tralning for.settlements and that Silvia Hulett and·rriyself only·
   received maybe 2p minutes of training. Nicole m:at~d sh~ was under the impre$Sicm
   that we had 'i'eceiyed .that same type ·or training regardlng sai;tlements. I· iri,fprm'ed Nicole
   of all. the email~ that Sarah serjt ma regarding ·my appointment With EEO, the: ~II phone
   usage~· personal phone calls~ and regarding my worki I also asked Nicole if ~he could
   do a tuirdship transfer and. rE1move me out of personnel and .adrnlni.stratlon: ; shared
   wltt1. Nicole that I can't do. anything right with Sarah as she alV!fays sends me     tha!e
   emails as if I am not doing my job or finding f~ult with my work. I informed her that I do
   manage  my     cases and how I found an error where Sarah was deliberately saying claims
   were accepted when. in aqtuallty these claims did not ha\fe a decision yet but Sarah ·
   stated. she needed to show them ace!epted to m~toh numbers for a report for Nicole,
 . even though she knew a decision had not bee,n made. Nicole thanked me for talking
. ·with her and that she does not Jolerate retaliation. She stated she will check Into the
   information        I shared with. her. She would also look Into the hardship transfer, but
   would leave that 8.$.a last resort as I'm needed in the workers comp unit and that.rm
   very knowledgeable. She gave me FMLA paperwork and informed me that she was
   going to hold off on providing me with a 3301 (workers comp claim form) at this time.
   Several of my co~workers came mid checked on me later throughout the day, asking me
   if I was okay and stating how rude she was to me. You may contact Debra Harris,
   Kristin Roan and Silvia Hulett.


  Clarice Sariders~Hollis
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                     EXHIBITF
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          STATE OF CALIFORNIA I State and Consumer Services Agency                             GOVERNOR EDMUND G. BROWN, JR.

          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                  DIRECTOR PHYLLIS W. CHENG




 EEOC Number: 555-201.6~01065C
 Case Name:   Clarice Sanders-Hollis vs. CA DEPT OF SOCIAL SERVICES/HUMAN
 SERVICES
 Filing Date: August 15, 2016 ·

                NOTICE TO COMPLAINANT AND RESPONDENT

This is to advise you that the above-referenced complaint is being dual filed with the
California Department of Fair Employment and Housing (DFEH) by the U.S. Equal
Employment Opportunity Commission (EEOC). The complaint will be filed in
accordam::e with California Government Code section 12960. This notice constitutes
service pursuant to Government Code section 12962.

           is responsible for the processing of this complaint and the DFEH will not be
conducting an investigation into this matter. Please contact EEOC directly for any
discussion of the complaint or the investigation.

                NOTICE TO COMPLAINANT OF RIGHT·TOmSUE

 This letter is also you·r Right to      notice. This Right-To-Sue Notice allows you to file a
grivate lawsuit in .State court. According to Government Code section· 12965,
subdivision (b), you may bring a civil action under the provisions of the Fair Employment
and Housing Act against the person, employer, labor organization or employment
agency named in the aboveHeferenced complaint. The lawsuit may be filed in a
of California Superior Court. Government Code section 1             subdivision (b), provides
that such a civil action must       brought within one year from the date of this notice.
Pursuant to Government Code section 12965, subdivision (d)(1), this one~year period
will be tolled during the pendency of the EEOC's investigation of your complaint. You
should consult an attorney determine. with accuracy the date by which a civil action
must be flied. This right to file a civil action may be waived in the event a settlement
agreement is signed.

If you have questions about the right to file under federal law, please contact the EEOC
using the contact Information below.

              Northern California                                      EEOC Southern California
      450 Golden Gate Ave 5~West                                     255 East Temple Ste., 4th Floor
             PO     36025                                               Los Angeles, CA 90012
       San Francisco, CA 94102                                              (213) 894-1100
            (415) 522-3000




                                                                                              DFEH-200-02 (01/13)
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                     EXHIBIT G
                  Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 27 of 28
!l'IAl& Of C.~LIFOJ'lfl;!A , Kl:Al;fH AN(;) HUMAN Si;l'IVIOl\iS AGENCY

                                                                                      EMPLOYEE SEPARATION NOTICE
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     Case 2:19-cv-00092-KJM-DB Document 23-3 Filed 10/21/19 Page 28 of 28



                              CERTIFICATE OF SERVICE
Case Name:     Clarice Sanders-Hollis v. State            No.    2:19-cv-00092-KJM-DB
               of California, Health and
               Human Services Agency,
               Department of Social Services

I hereby certify that on October 21, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF CALIFORNIA DEPARTMENT
OF SOCIAL SERVICES’ MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE RULE (12)(b)(6)
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on October 21, 2019, at Sacramento,
California.


           Marianne Baschiera                                /s/ Marianne Baschiera
               Declarant                                            Signature

SA2019100060
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